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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


Civil Action No 17-cv-01236-RBJ

SCOTTSDALE INDEMNITY COMPANY,

       Plaintiff,

v.

CONVERCENT, INC.,
O’NEAL PATRICK QUINLAN, III, and
STEVE FOSTER,

       Defendants.



                                    FINAL JUDGMENT


       In accordance with the orders filed during the pendency of this case, and

pursuant to Fed. R. Civ. P. 54(b) the following Final Judgment is hereby entered.

       Pursuant to the ORDER of Judge R. Brooke Jackson entered on November 14,

2017 [ECF No. 22] it is

       ORDERED that the defendants’ Motion for Summary Judgment [ECF No. 10] is

DENIED, and Scottsdale’s Motion for Summary Judgment [ECF No. 15] is GRANTED in

part and MOOT in part. It is

       FURTHER ORDERED that judgment is entered in favor of the plaintiff,

Scottsdale Indemnity Company and against defendants Convercent, Inc.; O'Neal Patrick

Quinlan, III; and Steve Foster. It is

       FURTHER ORDERED that as the prevailing party, the plaintiff is awarded

reasonable costs pursuant to Fed. R. Civ. P. 54(d)(1) and D.C.COLOLCivR 54.1.
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      Dated at Denver, Colorado this 14th day of November, 2017.

                                            FOR THE COURT:
                                            JEFFREY P. COLWELL, CLERK

                                        By: s/ J. Dynes
                                                J. Dynes
                                                Deputy Clerk
